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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 95 JU;§ ._8 PH 32 35
WESTERN DIVISION

   

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UNITED sTATEs oF AMERICA, §§ Ot" Tli. tamm 113
Plaintiff,

VS' CR. No. 04-20241

CURTIS BYRD,

Defendant.

 

ORDER DISMISSING DEFENDANT’S MOTION IN LIMINE

 

Before the Court is a motion in limine of the Defendant, Curtis Byrd, to prohibit certain
testimony being offered by the government at trial. On June 8, 2005, defense counsel, Randall
Salky, appeared before the Court and advised that because his client had indicated a desire to
proceed with his case non-jury, he requested that his motion in limine be withdrawn

Accordingly, based upon the defendant’s oral motion to withdraw his previously filed
motion in limine, the GRANTS the motion and dismisses Byrd’s motion in limine of June 2,

§

IT Is so 0RDEREI) this g day of June, 2005.

2005 .

 

J. DANIEL BREEN \
NI D sTATEs DISTRICT JUDGE

 

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UNITED sTATE D"ISIC COURT - wEsNTER D's'TRCT oFTENNESSEE

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This notice confirms a copy ot` the document docketed as number 78 in
case 2:04-CR-20241 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

